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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

ANNA MATHAI                                                             CIVIL ACTION

VERSUS                                                                  NO. 12-2778

BOARD OF SUPERVISORS OF                                                 SECTION "R"4
LOUISIANA STATE UNIVERSITY, ET AL.

                       PRELIMINARY CONFERENCE NOTICE

       A PRELIMINARY CONFERENCE will be held BY TELEPHONE on
THURSDAY, FEBRUARY 7, 2013 at 10:15 a.m. for the purpose of scheduling a pre-trial
conference and trial on the merits and for a discussion of the status and discovery cut-off
dates.

      The Court will initiate the telephone conference call and will be represented at the
conference by its Courtroom Deputy Clerk. TRIAL COUNSEL are to participate in this
conference. If, however, you are unable for good cause to do so, another attorney in your
firm may participate if acquainted with all details of the case and authorized to enter into any
necessary agreements. If, for good cause, neither is possible, you must file a Motion and
Order to Continue at least one week prior to the above date.

                                             SARAH S. VANCE
                                             UNITED STATES DISTRICT JUDGE

                                             Issued for the Court:

                                             By: Jay Susslin
                                                Case Manager
                                                (504) 589-7689

NOTICE OF COMPLIANCE WITH Fed. R. Civ. P. 26(a)(1) & 26(f) and Local Rule 26

COUNSEL ARE TO BE PREPARED TO ANSWER ATTACHED QUESTIONS
CONCERNING DISCLOSURE.

                                           NOTICE

COUNSEL ADDING NEW PARTIES SUBSEQUENT TO THE MAILING OF THIS NOTICE
SHALL NOTIFY SUCH NEW PARTY TO APPEAR AS REQUIRED BY THIS NOTICE.



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               IMPORTANT NOTICE TO COUNSEL

COUNSEL WILL BE REQUIRED TO ANSWER THE
FOLLOWING QUESTIONS REGARDING DISCLOSURE AT THE
CONFERENCE:

1.   Have all parties completed your Rule 26(a)(1) mandatory
     initial disclosures?

2.   Have all parties stipulated that initial disclosures under
     Rule 26(a)(1) will not be made in this case?

3.   Do any of the parties object to making Rule 26(a)(1) initial
     disclosures in this case? *

*WRITTEN OBJECTIONS MUST BE FILED THREE WORKING
DAYS PRIOR TO THE PRELIMINARY CONFERENCE.
